               Case 2:18-cr-00024-TLN Document 98 Filed 10/03/19 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:18-CR-0024-GEB
12                               Plaintiff,            STIPULATION AND (PROPOSED) ORDER
                                                       TO CONTINUE STATUS CONFERENCE
13                         v.
                                                       Date:    October 4, 2019
14   DONTE ROBINS,                                     Time:    9:00 a.m.
     ISAIAH BURKS,                                     Judge:   Hon. Garland E. Burrell, Jr.
15   RAYSHAWN WRAY, and
     JOSHUA MARKANSON,
16
                                 Defendants.
17

18

19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, Rayshawn Wray, and Joshua Markanson, through their counsel of record, stipulate that the
21 status conference currently set for October 4, 2019, be continued by two weeks, to October 18, 2019, at

22 9:00 a.m.

23          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding

24 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks and Mr. Wray were arraigned separately, in May and

25 November 2018, respectively. (ECF Nos. 37, 64.) The government has produced discovery to defense

26 counsel that includes 139 pages of written materials and roughly 130 photos, as well as fifteen compact
27 disks containing dozens of audio and video files.

28 / / /

      STIPULATION AND (PROPOSED) ORDER                 1
30    TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 98 Filed 10/03/19 Page 2 of 3


 1          In late June 2019, the government made available for physical inspection all of the firearms and

 2 magazines purchased as part of this investigation. The parties are now scheduling a time in the coming

 3 weeks for defense counsel to inspect the remaining physical evidence collected in this case.

 4          Based on the foregoing, defendants Robins, Burks, Wray, and Markanson (through counsel)

 5 stipulate that the status conference set for October 4, 2019, be continued by two weeks, to October 18,

 6 2019, at 9:00 a.m. The parties further agree that time under the Speedy Trial Act should be excluded

 7 from the date the parties stipulated, to and including October 18, 2019, under 18 U.S.C. § 3161(h)(7)(A)

 8 and (B)(iv) [reasonable time to prepare], and General Order 479 [Local Code T4], based on continuity of

 9 counsel and defense preparation.
10          The parties agree that the failure to grant a continuance in this case would deny defense counsel

11 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

12 The parties also agree that the ends of justice served by the Court granting the requested continuance

13 outweigh the best interests of the public and the defendants in a speedy trial.

14                                                       Respectfully submitted,

15 Dated: October 2, 2019                                _/s/ Timothy H. Delgado___________
                                                         TIMOTHY H. DELGADO
16
                                                         Assistant United States Attorney
17                                                       Attorney for Plaintiff United States

18 Dated: October 2, 2019                                _/s/ THD for Linda C. Allison_______
19                                                       LINDA C. ALLISON
                                                         Assistant Federal Defender
20                                                       Attorney for Defendant Donte Robins

21 Dated: October 2, 2019                                _/s/ THD for Philip Cozens_________
22                                                       PHILIP COZENS
                                                         Attorney for Defendant Isaiah Burks
23

24 Dated: October 2, 2019                                _/s/ THD for Todd D. Leras___________
                                                         TODD D. LERAS
25                                                       Attorney for Defendant Rayshawn Wray

26
     Dated: October 2, 2019                              _/s/ THD for Etan Zaitsu___________
27                                                       ETAN ZAITSU
                                                         Attorney for Defendant Joshua Markanson
28

      STIPULATION AND (PROPOSED) ORDER                   2
30    TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 98 Filed 10/03/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, to and including October 18,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the October 4, 2019 status conference be continued

12 until October 18, 2019, at 9:00 a.m.

13
            Dated: October 3, 2019
14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

      STIPULATION AND (PROPOSED) ORDER                     3
30    TO CONTINUE STATUS CONFERENCE
